    Case 2:20-cv-02675-PBT Document 14 Filed 02/19/21 Page 1 of 4




            IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________
                                       :
MAJOR G. TILLERY,                      :                 CIVIL ACTION
                                       :
                    Petitioner Pro Se, :                 20-cv-2675
                                       :
                    v.                 :
                                       :
KENNETH EASON, Superintendent,         :
  State Correctional Institution at
  Chester, et. al.,                    :
                                       :
                    Respondent.        :
_________________________________ :

                                   ORDER

   AND NOW, this               day of                                 2021,

   Petitioner’s motion for an Enlargement of Time to file a Reply by June 6,

2021, is GRANTED.

                         BY THE COURT,



                         _________________________

                         THE HONORABLE LYNNE A. SITARSKI
                         United States Magistrate Judge
     Case 2:20-cv-02675-PBT Document 14 Filed 02/19/21 Page 2 of 4




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                                       :
                    v.                 :
                                       :
KENNETH EASON, Superintendent,         :
  State Correctional Institution at
  Chester, et. al.,                    :
                                       :
                    Respondent.        :
_________________________________ :

       MOTION FOR ENLARGEMENT OF TIME FOR PETITIONER
           TO FILE REPLY TO RESPONDENTS’ RESPONSE

   Petitioner pro se, MAJOR G. TILLERY, respectfully requests a two

month-extension to file his reply to the Respondent’s Response to the

petition for writ of habeas corpus in the above-captioned matter.

   On information and belief the Respondent’s Response was filed on

February 5, 2021. On information and belief the Response includes legal

authority newly decided by the Third Circuit Court of Appeals. On

information and belief Respondents filed its response on ECF and states that

for covid-related reasons a copy was not immediately mailed to Petitioner

but will be done at the “soonest opportunity.” Respondent states that its
     Case 2:20-cv-02675-PBT Document 14 Filed 02/19/21 Page 3 of 4




document and exhibits via USPS will be sent to Smart

Communications/PADOC for processing and forwarding to SCI Chester for

further processing prior to actual delivery to Petitioner. As of today

Petitioner has not received the Response from Defendants’ attorney.

   It often takes as long as three weeks to receive mail sent through Smart

Communications as now established by the current DOC mailing procedures.

   The prison library is not open on a regular basis given restrictions put in

place because covid-19. It has been weeks since there has been library

access and there is no set schedule. Legal opinions required to prepare

Petitioner’s Reply will have to be mailed to Petitioner from outside the

prison, which will take some time given the current mail procedures.

   Petitioner’s Reply is due March 7, 2021. For the reasons indicated above,

Petitioner requests an additional 60 days to file his Reply.

   WHEREFORE, Petitioner respectfully requests that he be granted an

extension of time, to June 6, 2021, to file a reply to the Respondent’s

Response to the petition for writ of habeas corpus.

February 19, 2021

                                        Respectfully submitted,

                                        s/ Major G. Tillery
                                        MAJOR G. TILLERY
                                        Petitioner pro se
     Case 2:20-cv-02675-PBT Document 14 Filed 02/19/21 Page 4 of 4




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  State Correctional Institution at
  Chester, et. al.,                    :
                                       :
                    Respondent.        :
_________________________________ :

                       CERTIFICATE OF SERVICE

   MAJOR G. TILLERY, Petitioner, pro se, hereby certifies that on

February 19, 2021, a copy of the foregoing document was filed by emailing

it to PAED_DOCUMENTS@paed.uscourts.gov.

   A copy was emailed to Samuel H. Ritterman, Assistant District Attorney,

representing defendants at Samuel.ritterman@phila.gov. A copy is also

mailed to ADA Ritterman via first-class mail at the following address:

   Philadelphia District Attorney Office
   3 South Penn Sq.
   Philadelphia, PA 19107
                                            /s/ Major G. Tillery___
                                            MAJOR G. TILLERY
                                            Petitioner, pro se
